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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


                                                          )
 In re:                                                   )   Chapter 11 (Subchapter V)
                                                          )
 FREE SPEECH SYSTEMS, LLC,                                )   Case No. 22-60043 (CML)
                                                          )
                       Debtor.                            )
                                                          )
                                                          )
 In re:                                                   )   Chapter 11
                                                          )
 ALEXANDER E. JONES,                                      )   Case No. 22-33553 (CML)
                                                          )
                       Debtor.                            )
                                                          )

NOTICE OF INTENT TO ADDUCE TESTIMONY FROM A REMOTE LOCATION BY
 TELEPHONE AND VIDEO TECHNOLOGY FOR THE HEARING SCHEDULED ON
                     JANUARY 24, 2024 AT 3:00 P.M.

          1.   This Notice is filed pursuant to BLR 9017-1(c)(2)(B) by the Official Committee of

Unsecured Creditors of Alexander E. Jones (the “Committee”) appointed in the chapter 11 case of

Alexander E. Jones, Case No. 22-33553 (CML).

          2.   This Notice pertains to the matters scheduled for hearing in the above-captioned

cases on January 24, 2024 at 3:00 p.m. (the “Hearing”).

          3.   To the extent any witness is called at the Hearing, the Committee intends to make

any witness available at the scheduled hearing by telephone and video technology.

          4.   Any party-in-interest may object to this notice within 3 days of its filing on the

Court’s docket. If no party-in-interest files a timely objection, the Court will allow witnesses

for the Committee to give testimony remotely using the Court’s telephone and video

technology. If the Court does not authorize the testimony to be taken remotely, the Court
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will schedule a date for the witness’s testimony to be given live in open court. Both the

witness(es) and the objector must appear in person at the scheduled date.

       5.     This Notice may be withdrawn at any time prior to the scheduled hearing or trial.

 Dated: January 19, 2024                    Respectfully submitted,

                                            By: /s/ Marty L. Brimmage, Jr.

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                                            -and-

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                                            Counsel to the Official Committee of Unsecured
                                            Creditors of Alexander E. Jones




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                                CERTIFICATE OF SERVICE

        I certify that on January 19, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                            /s/ Marty L. Brimmage, Jr.
                                                            Marty L. Brimmage, Jr.




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